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                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ROBERT L. PUGH, et al.,              )
                                     )
                  Plaintiffs,        )
                                     )
      v.                             )   Civil Action No. 02-2026-HHK
                                     )
SOCIALIST PEOPLE’S LIBYAN            )
ARAB JAMAHIRIYA, et al.,             )
                                     )
                  Defendants.        )
____________________________________)

                 JOINT PRE-TRIAL STATEMENT ON DAMAGES PHASE

       The parties, by and through their undersigned counsel, hereby submit their Joint Pre-trial

Statement, as ordered by the Court on June 26, 2007, as amended on June 27, 2007.

       I.       Case Summary

       This is an action brought pursuant to the “terrorism exception” of the Foreign Sovereign

Immunities Act (“FSIA”), 28 U.S.C. § 1605(a)(7), arising from the September 19, 1989 bombing

of Union des Transports Aeriens (“UTA”) Flight 772, over the Tenere Desert in the African

country of Niger. UTA Flight 772, a DC-10-30 aircraft owned by Plaintiff Interlease, Corp., a

U.S. corporation, was en route to Paris, France from N’djamena, Chad1 when a suitcase bomb in

the cargo hold exploded, killing all 170 passengers and crew on board. Seven of the passengers

were citizens of the United States. Their estates and immediate family members, along with

Interlease, are the Plaintiffs in this case. The Defendants are the Socialist Peoples’ Libyan Arab

Jamahiriya, the Libyan External Security Organization (“LESO”) and seven individuals, including



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       Flight 772 had originated in Brazzaville, Congo.
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Muammar Qadhafi and his brother-in-law, Abdullah Senoussi (collectively Defendants are

referred to herein as “Libya”).

       This case was filed on October 16, 2002. Plaintiffs sought damages for claims including

wrongful death, survival, intentional infliction of emotional distress, loss of solatium, loss of

consortium, and, with respect to Interlease, conversion, pursuant to state law. Plaintiffs also

sought damages for personal injury, and, with respect to Interlease, property damage and loss,

pursuant to 18 U.S.C. § 2333(a). In response to the Complaint, Libya moved to dismiss. On

October 27, 2003, the Honorable Thomas Penfield Jackson, who was then assigned this case,

denied the motion in part and granted it in part. See Pugh v. Socialist Peoples’ Libyan Arab

Jamahiriya, 290 F. Supp. 2d 54 (D.D.C. 2003) (granting motion only as to Interlease’s claims

against Libya but denying the remainder). Libya appealed that decision, but the appeal was

dismissed for lack of jurisdiction. No. 03-7172 (D.C. Cir. Nov. 22, 2004).

       Plaintiffs subsequently moved for partial summary judgment on liability and Libya cross-

moved for summary judgment. On May 11, 2006, this Court granted the motions in part and

denied the motions in part. 2006 WL 2384915 (D.D.C. May 11, 2006). Importantly, this Court

noted that in the face of “a proper, and very detailed, statement of material facts as to which there

is no genuine dispute” submitted by Plaintiffs, Libya “not only fail[ed] to submit any contrary

evidence, but fail[ed] as well, even to suggest that contrary evidence might exist.” Id. at *3.

Thus, this Court held that in this case “plaintiffs’ evidence stands undisputed and overwhelmingly

establishes defendants’ culpability and involvement in the bombing of UTA Flight 772.” Id. at

*4.2 The Court then ordered Plaintiffs to amend their Complaint to identify specific state law


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        Specifically, this Court ruled that “the evidence . . . makes clear that the bombing of UTA
Flight 772 was carried out by the individual [Libyan official] defendants while acting within the


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causes of action and to submit briefing on the proper choice of law for each plaintiff. Id. at *15-

16. As a result, Plaintiffs, on May 19, 2006, amended their Complaint, and on May 30, 2006,

filed a legal memorandum in further support of their motion for partial summary judgment on

liability, consistent with this Court’s legal determinations set forth in its May 11, 2006 opinion.

Defendants did not respond to that memorandum or the legal arguments therein.

       Instead, on July 18, 2006, Libya again moved to dismiss Plaintiffs’ claims on jurisdictional

grounds, citing President Bush’s recent removal of Libya from the list of foreign states that

sponsor terrorism. On September 3, 2006, following full briefing by the parties, this Court denied

that motion. Libya thereafter filed another interlocutory appeal. On April 3, 2007, the Court of

Appeals summarily affirmed this Court’s denial of Libya’s motion to dismiss. (No. 07-7167, D.C.

Cir. April 3, 2007). Less than one week later, on April 9, 2007, this Court granted Plaintiffs

summary judgment on liability against Libya and scheduled a damages hearing for the period

August 13-16, 2007.

       Defendants object to plaintiffs’ case summary above within the Joint Pretrial statement as

the June 26, 2007 Order of the Court does not require the inclusion of any such summary.




scope of their office and employment,” and “under the authority of the Libyan state.” Id. at 17-
18. Based on that evidence, the Court issued a liability finding with respect to the six individual
Libyan official Defendants under a number of federal statutory causes of action, including the so-
called Flatow Amendment, 28 U.S.C. § 1605 note, the Torture Victim Protection Act, 28 U.S.C.
§ 1350 note, and 18 U.S.C. § 2333(a).



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II.     Parties and Counsel

a.      The following are counsel for all Plaintiffs:

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b.      The following is counsel for all defendants:

Arman Dabiri
Law Offices of Arman Dabiri
 & Associates, P.L.L.C.
1725 I Street, NW, Suite 300
Washington, D.C. 20006
(202) 349-3893
armandab@worldnet.att.net


III.    Undisputed Issues and Stipulations

None.




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       IV.     Trial and Witness Schedule

       a.      Plaintiffs’ Witnesses

       1.      Robert L. Pugh
               2310 Cox District Road
               Woodstock, Vermont 05091

       Mr. Pugh (husband of Bonnie Pugh) will be testifying in his individual capacity and in his

capacity as: (1) Executor of the Estate of Bonnie Barnes Coverley, his deceased wife; and (2)

Executor of the Estate of Malcolm R. Pugh, their deceased son. Mr. Pugh will testify about his

deceased wife, his relationship with her, his reaction at hearing of her death, how her death

affected him, and related issues with respect to him and various family members, including his

deceased son whose estate he represents. (1 hour).

       2.      Ioana Alimanestianu
               40 East 89th Street
               Apartment 10D
               New York, New York 10128-1218

       Mrs. Alimanestianu (wife of Mihai Alimanestianu) will be testifying in her individual

capacity and in her capacity as Executrix of the Estate of Mihai Alimanestianu, her late husband.

She will testify about her deceased husband, her relationship with him, her reaction at hearing of

his death, how his death affected her, and related issues with respect to her and various family

members. (40 minutes).

       3.      Mary Kathryn Hassett
               1603 Oakleaf Lane
               Charlottesville, Virginia 22903

       Mrs. Hassett (mother of Margaret Schutzius) will be testifying in her individual capacity

and in her capacity as Executrix of the Estate of Margaret Schutzius, her late daughter. She will

testify about her deceased daughter, her relationship with, her reaction at hearing of her death,




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how her death affected her, and related issues with respect to her and various family members.

(40 minutes).

       4.       Ermine Hailey
                Post Office Box 177
                Realiotos, Texas 78376 (mailing address)

                Or

                County Road 262
                Realiotos, Texas 78376 (home address)

       Mrs. Hailey (wife of Pat Wayne Huff) will be testifying in her individual capacity and in

her capacity as Executrix of the Estate of Pat Wayne Huff, her late husband. She will testify

about her deceased husband, her relationship with him, her reaction at hearing of his death, how

his death affected her, and related issues with respect to her and various family members. (40

minutes).

       5.       Carla Malkiewicz
                16002 Koenig Lane
                Conroe, Texas 77384

       Mrs. Malkiewicz (wife of Mark Corder) will be testifying in her individual capacity and in

her capacity as Executrix of the Estate of Mark Corder, her late husband. She will testify about

her deceased husband, her relationship with him, her reaction at hearing of his death, how his

death affected her, and similar and related issues with respect to her and various family members.

(40 minutes).

       6.       Eddie Don Turlington
                2220 Peachtree
                Amarillo, Texas 79109

       Mr. Turlington (son of James Turlington, Sr.) will be testifying in his individual capacity

only. He will testify about his relationship with his deceased father, his reaction at hearing of his




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death, how his death affected him, and related issues with respect to him and various family

members. (40 minutes).

       7.      Debbie Vaughn Schooling
               2803 Dunaway
               Amarillo, Texas 79103

       Mrs. Schooling (daughter of James Turlington, Sr.) will be testifying in her individual

capacity, as well as in her capacity as Executrix of the Estate of James Turlington, Sr., her late

father. She will testify about her deceased father, her relationship with him, her reaction at

hearing of his death, how his death affected her, and related issues with respect to her and various

family members. (40 minutes).

       8.      Douglas Matthews
               Interlease, Inc.
               1266 West Paces Ferry Road
               Suite 514
               Atlanta, Georgia 30327

       Mr. Matthews is the President and owner of Interlease, Inc., the company that owned the

DC-10-30 that exploded as UTA Flight 772. Mr. Matthews will testify about ownership of the

aircraft and related business issues, and the effect on Interlease’s business and himself of

Defendants’ actions that led to this case. (1 hour).

       9.      Steven A. Wolf*
               Principal, National Forensic Accounting Practice
               LECG, LLC
               1725 I Street, N.W., Suite 800
               Washington, D.C. 20006

       Mr. Wolf will testify as an expert accountant and economist. He will offer opinions on the

value of the estates of the seven U.S. victims of UTA 772, including their earning capacity over

their natural expected life, and related valuation and income issues. He will also testify with




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respect to calculations of prejudgment interest for both the individual Plaintiffs and Interlease.

(90 minutes)

       10.     Donald E. Sommer, P.E.*
               President and Owner of Aeroscope, Inc.
               11901 Allison Street
               Broomfield, Colorado 80020

       Mr. Sommer will offer expert testimony about the explosion on UTA 772, including where

the bomb was situated on the airplane and the effect the explosion had on the passengers aboard

the aircraft. He will also offer the opinion that passengers survived the explosion, and were

conscious of the fact they were about to die as they fell to earth. (1 hour).

       11.     Richard A. Levy, M.D., M.P.H.*
               43 Kirkwood Road
               Scarborough, Maine 04074

       Dr. Levy will offer expert testimony on the psychological and physiological reactions of

people to their anticipated deaths, particularly in the context of an aviation disaster. He will offer

the opinion that passengers on UTA 772 likely suffered these effects. (1 hour).

       12.     Douglas Kelly*
               Vice-President, Asset Valuation and Chief Appraiser
               AVITAS, Inc.
               14520 Avion Parkway
               Suite 220
               Chantilly, VA 20151

       Mr. Kelly will offer expert testimony on various aspects of the economic value of the DC-

10-30 aircraft owned by Interlease, Inc. that exploded as UTA Flight 772. (1 hour).

       13.     In addition, Plaintiffs reserve the right to call any of the Plaintiffs who have

submitted de bene esse depositions to provide live testimony consistent with their de bene esse

testimony. (30 min. each).




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        14.     Cross-Examination: Plaintiffs intend to cross-examine Defendants’ witnesses to

the extent they are permitted to testify. Plaintiffs, however, object to those witnesses as

Defendants have failed to provide Plaintiffs copies of their expert reports or otherwise provide the

content of or basis for their opinions and testimony. (45 min. each).

        b.      Defendants’ Witnesses

        1.      Richard B. Edelman, Ph.D.*
                8515 Whittier Boulevard
                Bethesda, MD 20817

        Dr. Edelman will testify as an expert financial and economic analyst and will offer opinions

on the value of the estates of the seven United States passengers on UTA 772, including their

earning capacity and their natural life expectancy, as well as related valuation and income issues.

Dr. Edelman will also further testify with respect to the calculation of pre-judgment interest for

plaintiffs’ claims. (2 hours).

        2.      Robert Griscom, Esq*
                3750 John J. Montgomery Dr, Suite "B"
                San Diego, CA 92123

        Mr. Griscom will offer expert testimony on the various aspects of the economic value of

the DC-10 aircraft owned by plaintiff Interlease. (1 hour).

        3.      Cross-Examination: Defendants intend to cross-examine every witness listed by

plaintiffs during trial. (30 min. per witness).


        V.      Exhibit List

        a.      Plaintiffs’ Exhibits

        The list of Plaintiffs’ Exhibits is attached hereto as Addendum 1.




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       b.      Defendants’ Exhibits

       The list of Defendants’ Exhibits is attached hereto as Addendum 2.

               1.      Expert Report of Dr. Richard B. Edelman

               2.      Expert Report of Robert Griscom

       c.      Plaintiffs’ Objections to Defendants’ Exhibits

       Plaintiffs object to the Expert Reports identified as Exhibits by Defendants above.

Defendants have not provided Plaintiffs copies of those reports, or otherwise indicated their

content, or the opinions these experts intend to provide and the basis and reasons therefore.


       VI.     Deposition Testimony

       See section VII below. Plaintiffs intend to offer the complete deposition testimony of

twenty nine (29) de bene esse depositions as set forth below in section VII.


       VII.    De Bene Esse Depositions

       Plaintiffs will offer at trial the following de bene esse deposition testimony in DVD format

for viewing by the Court, along with accompanying written transcripts:

       a.      Bonnie Pugh Family

               1.     Anne Carey on her own behalf (Bonnie’s daughter) and as Executrix of the
                      Estate of Harvey Mills Coverley (Bonnie’s father)
               2.     Sally Chisholm Johnson (Bonnie’s sister) and as Executrix of the Estate of
               Georgia Mae Chisholm (Bonnie’s mother)

       b.      Mihai Alimanestianu Family

               1.      Joanna Alimanestianu (Mihai’s daughter) on her own behalf
               2.      Nicholas Alimanestianu (Mihai’s son) on his own behalf
               3.      Irina Alimanestianu (Mihai’s daughter) on her own behalf
               4.      Alexander Alimanestianu (Mihai’s son) on his own behalf
               5.      Simone A. Desiderio as Executrix of the Estate of Calin Alimanestianu
                       (Mihai’s brother)



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      6.     Kathy Alimanestianu as Executrix of the Estate of Serban Alimanestianu
             (Mihai’s brother)
      7.     Pauline Alimanestiano as Executrix of the Estate of Constantin
             Alimanestiano (Mihai’s brother)

c.    Mark E. Corder Family

      1.      Therese Coddington (Mark’s sister) on her own behalf and as Executrix of
      the Estate of Edward Corder (Mark’s father)
      2.      Michael Corder (Mark’s brother) on his own behalf

d.    Pat Wayne Huff Family

      1.     Michael Huff (Pat’s brother) on his own behalf
      2.     Jan Pittillo (Pat’s sister) on her own behalf and as Executrix for the Estate
             of James E. Huff (Pat’s father) and the Estate of Janice Huff (Pat’s
             mother)
      3.     Jared Hill (Pat’s son) on his own behalf
      4.     Amanda Hill (Pat’s daughter) on her own behalf

e.    Margaret Schutzius Family

      1.     William C. Schutzius (Margaret’s father) on his own behalf
      2.     Christopher M. Schutzius (Margaret’s brother) on his own behalf
      3.     Catharine A. Schutzius (Margaret’s sister) on her own behalf
      4.     John B. Schutzius (Margaret’s brother) on his own behalf

f.    James Turlington, Sr. Family

      1.     Joyce Butler (James’s sister) on her own behalf and as Executrix for the
             Estate of Elvee Turlington (James’s mother)
      2.     Russell Turlington (James’s brother) on his own behalf
      3.     Jimmy Bruce Turlington (James’s son) on his own behalf
      4.     David Olney Turlington (James’s son) on his own behalf
      5.     James Eldee Turlington, Jr. (James’s son) on his own behalf
      6.     Christopher Darwyn Turlington (James’s son) on his own behalf
      7.     Jana Elizabeth Turlington (James’s daughter) on her own behalf

g.    Donald Warner Family

      1.     Janet Warner (Donald’s mother) on her own behalf and as Executrix of the
             Estate of Donald Warner and the Estate of Alvin Warner (Donald’s father)
      2.     Susan Warner (Donald’s sister) on her own behalf
      3.     Sherry Warner (Donald’s sister) on her own behalf




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       VIII. Relief Sought

       Plaintiffs seek an award of compensatory damages and pre-judgment interest as set forth

below. There are several components to the monetary relief sought by the Plaintiffs, which

Plaintiffs describe briefly below. To further aid the Court, Plaintiffs will submit as an exhibit at

trial a chart outlining damages for each Plaintiff, which will include the applicable law for each

Plaintiff’s claims and a range of damages to which each Plaintiff is entitled.

           1. Estates

       First, with respect to the estates of the seven United States citizens who perished on UTA

Flight 772, the Court should award the estates the economic value of lost earnings over the

expected life of those Plaintiffs. These amounts have been calculated by Steven A. Wolf, and are

set forth in his Report, which has been provided to Defendants. Mr. Wolf also will testify as to

the amounts, and the methodology he used to arrive at these calculations. This measure of

damages for wrongful death under state law is well recognized in “victims of terrorism” (as well

as other) cases, and Mr. Wolf is the same economist who was deemed an expert and credited by

Judges Bates of this District in the Dammarell v. Islamic Republic of Iran case. See e.g.

Dammarell v. Islamic Republic of Iran, 281 F. Supp. 2d 105, 199 (D.D.C. 2003) (“Courts have

awarded economic damages in the form of lost wages, benefits, and retirement pay, and other out

of pocket expenses, to individuals in other FSIA cases involving terrorist acts”) (citing cases

including Kerr v. Islamic Republic of Iran, 245 F. Supp. 2d 59, 63 (D.D.C. 2003) (Jackson, J.);

Surrette v. Islamic Republic of Iran, 231 F. Supp. 2d 260, 268 (D.D.C. 2002) (Friedman, J.);

Daliberti v. Republic of Iraq, 146 F. Supp. 2d 19, 24 (D.D.C. 2001) (Oberdorfer, J.)). See also,

Dammarell v. Islamic Republic of Iran, 404 F. Supp. 2d 261, 299 (D.D.C. 2005) (granting an




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award of lost wages for wrongful death, etc. under Virginia law to the Estate of Robert Ames). A

Final Judgment Order was entered in Dammarell on September 7, 2006.

           2. Immediate Family Members

       Second, the Court should award appropriate compensatory damages to “immediate

family” members of the seven United States citizen victims of UTA Flight 772, based on the

intentional infliction of emotional distress, and loss of consortium and/or solatium, from which

each of these immediate family members suffered. The judges of this District have defined

“immediate family” to encompass “spouses, parents, siblings and children.” Jenco v. Islamic

Republic of Iran, 154 F. Supp. 2d 27, 36 n.8 (D.D.C. 2001) (Lamberth, J.) (citing Dan D. Dobbs,

The Law of Torts, § 310 (2000) (addressing the scope of recovery in consortium claims)); aff’d

sub nom. Bettis v. Islamic Republic of Iran, 315 F.3d 325, 337-38 (D.C. Cir. 2003) (affirming

Judge Lamberth’s definition of “immediate family” and rejecting the inclusion of nieces and

nephews within the definition).

               (a) Spouse Awards

       The judges of this District have awarded a range of amounts for members of the four

categories – spouses, parents, siblings, and children – depending on the particular circumstances

of the case. As this Court recognized, however, in Cicippio-Puleo v. Islamic Republic of Iran,

No. 01-1496-HHK (D.D.C. Oct. 7, 2005), “[t]here is no set formula established for calculating

damages for family members such as Plaintiffs [here].” Slip Op., at 26. For example, many of the

judges of this District have awarded spouses in “victims of terrorism” cases $10 million for their

pain, suffering, and loss of consortium and solatium. The scenarios for these awards range from

spouses of hostages held for years in Lebanon to spouses of victims who were killed. See e.g.

Anderson v. Islamic Republic of Iran, 90 F. Supp. 2d 107 (D.D.C. 2000) (spouse of hostage held


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for 6 ½ years awarded $10 million by Judge Jackson); Sutherland v. Islamic Republic of Iran,

151 F. Supp. 2d 27 (D.D.C. 2001) (spouse of hostage held for 6 ½ years awarded $10 million by

Judge Lamberth); Kerr v. Islamic Republic of Iran, 245 F. Supp. 2d 59 (D.D.C. 2003) (spouse of

college president assassinated awarded $10 million by Judge Jackson); Dammarell v. Islamic

Republic of Iran, 404 F. Supp. 2d 261, 300-01 (D.D.C. 2005) (spouse of Robert Ames, who was

killed in the Beirut embassy bombing, was awarded $10 million). The $10 million figure,

however, is clearly not an absolute. In Higgins v. Islamic Republic of Iran, 2000 WL 33674311

(D.D.C. September 21, 2000), Judge Kollar-Kotelly of this Court awarded the spouse of Colonel

William Higgins $12 million. Higgins had been the victim of a gruesome torture and mutilation

before being killed by terrorists. Likewise, in Hegna v. Islamic Republic of Iran, 2005 WL

3276307 (D.D.C. January 22, 2002), this Court awarded the spouse $26 million in a case arising

out of the hijacking of an aircraft and subsequent assassination of a passenger by way of a slow

painful death. In this case, an appropriate and significant award should be made as to each spouse

– especially because of the painful and horrific way each of the seven Americans died on UTA

Flight 772, and the truly senseless and barbaric nature of Libya’s actions.

               (b) Parent Awards

       With respect to parents, the awards historically, and almost uniformly, have been in the $5

million range. For example, in Stethem v. Islamic Republic of Iran, 201 F. Supp. 2d 78 (D.D.C.

2001), a case where a young Navy diver was beaten and tortured on a hijacked plane before being

shot in the head and thrown on the airport tarmac, the parents of the victim were awarded $5

million each by Judge Jackson. Similarly, in Eisenfeld v. Islamic Republic of Iran, 172 F. Supp.

2d 1 (D.D.C. 2000), Judge Lamberth awarded $5 million dollars to each of the parents of a young

adult killed in terrorist bombing in Israel. And, in Wagner v. Islamic Republic of Iran, 172 F.


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Supp. 2d 128 (D.D.C. 2001), Judge Jackson likewise awarded $5 million to the living parent of a

Marine guard killed in a Beirut embassy bombing. In this case, an appropriate and significant

award should be made as to each parent, or their estate where they have died since the UTA 772

bombing – especially because of the painful and horrific way each of the seven Americans died on

UTA Flight 772, and the truly senseless and barbaric nature of Libya’s actions.

               (c) Sibling Awards

       Sibling awards in “victims of terrorism” cases have had the most variance among the

judges of this District. For example, in Cicippio-Puleo v. Islamic Republic of Iran, No. 01-1496-

HHK (D.D.C. Oct. 7, 2005), this Court awarded each of the siblings of a hostage held in Lebanon

for more than five years $6.5 million. In Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97

(D.D.C. 2000), Judge Joyce Hens Green awarded each brother of an assassinated Iranian

dissident $5 million. And, in Stethem v. Islamic Republic of Iran, 201 F. Supp. 2d 78 (D.D.C.

2001), Judge Jackson awarded each of the siblings of the Navy diver $3 million. In this case an

appropriate and significant award should be made as to each sibling, or their estate where they

have died since the UTA 772 bombing – especially because of the painful and horrific way each of

the seven Americans died on UTA Flight 772, and the truly senseless and barbaric nature of

Libya’s actions.

               (d) Child Awards

       Awards to the children of victims of terrorism also have varied widely depending on the

circumstances of the case. In Cicippio-Puleo v. Islamic Republic of Iran, No. 01-1496-HHK

(D.D.C. Oct. 7, 2005), this Court awarded $6.5 million to each of the children of a hostage held

in Lebanon for more than five years. In Higgins v. Islamic Republic of Iran, 2000 WL 33674311

(D.D.C. September 21, 2000), Judge Kollar-Kotelly of this Court awarded the child of the


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murdered and tortured victim $12 million. In Dammarell v. Islamic Republic of Iran, 404 F.

Supp. 2d 261, 301-06 (D.D.C. 2005), Judge Bates awarded each of the children of Robert Ames

$5 million. In this case an appropriate and significant award should be made as to each child, or

their estate where they have died since the UTA 772 bombing – especially because of the painful

and horrific way each of the seven Americans died on UTA Flight 772, and the truly senseless and

barbaric nature of Libya’s actions.

           3. Damages for the destruction of the DC-10-30 aircraft

       Interlease is entitled to compensation for the conversion and loss of its property, the DC-

10-30 aircraft, under the laws of the State of Georgia and under 18 USC § 2333(a), as a U.S.

corporation “injured in its property, . . . by reason of an act of international terrorism.” As

reflected in the expert report, which was previously provided to Defendants, the property loss

sustained by Interlease as a result of Defendants’ terrorist acts is presently valued at

$108,605,000, including prejudgment interest.

       Prejudgment Interest

       “Prejudgment interest is an element of complete compensation,” West Virginia v. United

States, 479 U.S. 305, 310 (1987), “serving to compensate for the loss of money due as damages .

. . until judgment is entered, thereby achieving full compensation for the injury those damages are

intended to redress.” Id at 311 n.2. Courts in this Circuit routinely exercise their discretion to

award prejudgment interest in order to fully compensate the aggrieved party. See, e.g., Motion

Pictures Ass’n of Amer. Inc. v. Oman, 969 F. 2d 1154, 1157 (D.C. Cir. 1996) (“interest

compensates for the time value of money, and thus is often necessary for full compensation.”);

Dammarell v. Islamic Republic of Iran, No. 01-224, 2006 WL 2583043, at *1, n.2 (D.D.C. Sept.

7, 2006) (awarding prejudgment interest and noting that “the nominal value attached to such


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injuries should reflect interest and compounding over time . . .[A]ny assessment of the real value

of the noneconomic awards must take into consideration that time factor to reflect the time value

of money.”). Given the particularly heinous nature of Libya’s acts that are the subject of this case,

the egregious losses sustained by Plaintiffs, and the delays in resolving Plaintiffs’ claims due to

Libya’s tactic of unnecessarily prolonging this litigation with, for example, meritless appeals, an

award of prejudgment interest is particularly warranted in this case. See, e.g., Oldham v. Korean

Air Lines, Ltd., 127 F. 3d 43, 54 (D.C. Cir. 1997) (finding district court’s failure to award

prejudgment interest at prime rate in case involving shot down passenger airliner to be abuse of

discretion); Forman v. Korean Airlines, 84 F.3d 446, 451 (D.C. Cir. 1996) (affirming award of

prejudgment interest on all tort arising out of same Korean Airlines disaster.).

       Treble Damages under the Anti-Terrorism Act of 1991

       Count IX of the Amended Complaint seeks treble damages of all compensatory damages

awards made to Plaintiffs against the individual Defendants sued in their individual capacity in this

case, Senoussi, Elazragh, Naeli, Musbah, Shibani, and El Ageli. The basis for trebling is the Anti-

Terrorism Act (“ATA”) of 1991, 18 U.S.C. § 2333(a) (2000). That provision states that “[a]ny

national of the United States injured in his or her person, property, or business by reason of an act

of international terrorism … may sue therefore in any appropriate district court of the United

States and shall recover threefold the damages he or she sustains and the cost of the suit,

including attorneys’ fees.” This Court recently recognized in Hurst v. Socialist Libyan Arab

Jamahiriya, 474 F. Supp. 2d 19, 28-29 (D.D.C. 2007), that while ATA trebling claims can be

brought against individuals who act on behalf of a foreign state, they cannot be pursued against

the state itself. More recently, Judge Bates of this Court has held that “injuries consisting of

mental anguish and emotional pain and suffering … are cognizable under the ATA.” Sisso v.


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Islamic Republic of Iran, 2007 WL 2007582 (July 5, 2007), at *10-11. Accordingly, in Sisso,

Judge Bates awarded a $5 million judgment against the foreign state to the child of a victim killed

in a terrorist bombing, and then trebled that amount to arrive at a separate $15 million judgment

awarded to the child against the terrorist organization pursuant to 28 U.S.C. § 2333(a). This

Court should do the same here since the bombing of UTA Flight 772 was clearly a violent and

heinous criminal act that resulted in a painful and horrific death for the seven Americans who died

on UTA Flight 772.

        Defendants’ Position

        The Court’s Order of June 26, 2007 states that “The parties will not be required to present

proposed findings of fact and conclusions of law before trial.” Defendants, pursuant to the Order

of the Court, retain the right to present their conclusions of law and findings of fact in response to

plaintiffs’ assertions of law in section VIII of this pre-trial statement.


        IX.     Pending Motions

        There are no pending motions.


        X.      Trial Brief

        Neither Plaintiffs nor Defendants believe that a Trial Brief is necessary.


        XI.     Motions In Limine

        Plaintiffs intend to move to exclude the testimony of Defendants’ expert witnesses on the

basis that (a) Plaintiffs first learned their identity on July 27, 2007, the date of this Pre-trial

Statement; and (b) Defendants have failed to provide expert reports or the substance of the

experts’ opinions and the basis therefore.




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       Defendants will oppose plaintiffs’ motion in limine as plaintiffs have to the date of this pre-

trial statement failed to send defendants any discovery requests relating to defendants intended

witnesses. During numerous meetings plaintiffs’ counsel was informed that defendants would

only be able prepare expert reports and retain expert witnesses when plaintiffs finalized and

provided defendants the identity and the content of any expert reports. Plaintiffs provided the

identity of their expert witnesses and the content of their reports to the defendants on July 18 and

July 20, 2007. Finally, during the telephone proceeding held before Honorable Judge Henry H.

Kennedy, on June 21, 2007, the Court instructed the parties to submit dicovery requests to their

opposing counsel if they intended to obtain the identity of expert witnesses and any prepared

reports.


       XII.     Demonstrative Evidence, Physical Evidence, Videotapes

       As noted in Section VII above, Plaintiffs plan to introduce into evidence twenty nine

DVDs that reflect the videotaped de bene esse testimony of most of the Plaintiffs. Plaintiffs will

also submit the expert reports of Steven Wolf, Donald Sommer and Richard Levy. In addition,

Plaintiffs will submit as an exhibit a chart that summarizes damages. Plaintiffs will also use

various family photographs and memorabilia as demonstrative exhibits.




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                                              Respectfully submitted,

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                                              Counsel for Defendants

       The foregoing Joint Pretrial Statement, as revised at the pretrial conference in the

presence of counsel, shall stand as the pretrial order in this case.



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                                        ADDENDUM 1

Plaintiffs’ Exhibits

Exhibit    Description
 1.        Transcript and DVD recording of deposition de bene esse of Anne Carey
 2.        Transcript and DVD recording of deposition de bene esse of Sally Chisholm Johnson
 3.        Transcript and DVD recording of deposition de bene esse of Joanna Alimanestianu
 4.        Transcript and DVD recording of deposition de bene esse of Nicholas Alimanestianu
 5.        Transcript and DVD recording of deposition de bene esse of Irina Alimanestianu
 6.        Transcript and DVD recording of deposition de bene esse of Alexander Alimanestianu
 7.        Transcript and DVD recording of deposition de bene esse of Simone A. Desiderio
 8.        Transcript and DVD recording of deposition de bene esse of Kathy Alimanestianu
 9.        Transcript and DVD recording of deposition de bene esse of Pauline Alimanestiano
 10.       Transcript and DVD recording of deposition de bene esse of Therese Coddington
 11.       Transcript and DVD recording of deposition de bene esse of Michael Corder
 12.       Transcript and DVD recording of deposition de bene esse of Michael Huff
 13.       Transcript and DVD recording of deposition de bene esse of Jan Pittillo
 14.       Transcript and DVD recording of deposition de bene esse of Jared Hill
 15.       Transcript and DVD recording of deposition de bene esse of Amanda Hill
 16.       Transcript and DVD recording of deposition de bene esse of William C. Schutzius
 17.       Transcript and DVD recording of deposition de bene esse of Christopher M. Schutzius
 18.       Transcript and DVD recording of deposition de bene esse of Catharine A. Schutzius
 19.       Transcript and DVD recording of deposition de bene esse of John B. Schutzius
 20.       Transcript and DVD recording of deposition de bene esse of Joyce Butler
 21.       Transcript and DVD recording of deposition de bene esse of Russell Turlington
 22.       Transcript and DVD recording of deposition de bene esse of Jimmy Bruce Turlington
 23.       Transcript and DVD recording of deposition de bene esse of David Olney Turlington
 24.       Transcript and DVD recording of deposition de bene esse of James Eldee Turlington, Jr.
 25.       Transcript and DVD recording of deposition de bene esse of Christopher Darwyn
           Turlington
 26.       Transcript and DVD recording of deposition de bene esse of Jana Elizabeth Turlington
 27.       Transcript and DVD recording of deposition de bene esse of Janet Warner
 28.       Transcript and DVD recording of deposition de bene esse of Susan Warner
 29.       Transcript and DVD recording of deposition de bene esse of Sherry Warner
 30.       Suggested Damages Chart
 31.       Expert Report of Steven A. Wolf
 32.       Letter from Steven A. Wolf of July 20, 2007 regarding prejudgment interest on the value
           of Interlease, Inc’s. McDonnell Douglass DC 10-30
 33.       Letter from Steven A. Wolf of July 20, 2007 regarding prejudgment interest on the value
           of Plaintiffs’ claims
 34.       Expert Report of Don Sommer
 35.       Expert Report of Dr. Richard A. Levy, M.D.
 36.       Expert Report of Doug Kelly
